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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   THANE CHARMAN,                                     Case No.: 21-CV-1467 JLS (AGS)
12                                     Plaintiff,
                                                        ORDER GRANTING PLAINTIFF’S
13   v.                                                 MOTION TO DISMISS WITH
                                                        PREJUDICE
14   COMPASS CALIFORNIA, INC.;
     RON SCHOONOVER; and
15
     MARK REVETTA,                                      (ECF No. 30)
16                                  Defendants.
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18         Presently before the Court is Plaintiff Thane Charman’s Motion to Dismiss with
19   Prejudice (“Mot.,” ECF No. 30). Plaintiff represents that the Parties “have resolved their
20   case”; therefore, he “requests the Court dismiss the case against Defendants . . . with
21   prejudice and close this action.” Id. Good cause appearing, the Court GRANTS Plaintiff’s
22   Motion. The Court DISMISSES WITH PREJUDICE this action. As this concludes the
23   litigation in this matter, the Clerk of the Court SHALL CLOSE the file.
24         IT IS SO ORDERED.
25   Dated: March 11, 2022
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